            Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 1 of 18




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CARRÉ SUTTON,

                Plaintiff,                                Civil Action No. 21-6787

                v.
                                                          JURY TRIAL DEMANDED
GÉRALD MARIE, AKA GÉRALD MARIE
CASTELBAJAC, an Individual, and TRUDI
TAPSCOTT, an Individual.


                Defendants.


                                         COMPLAINT

       Plaintiff, Carré Sutton, also known as Carré Otis, (“Plaintiff”) for her complaint for

damages against Defendants Gérald Marie (“Defendant Marie” or “Marie”) and Trudi Tapscott

(“Defendant Tapscott” or “Tapscott”) states as follows:

                               I.      NATURE OF THE CASE

       1.       This filing, pursuant to the New York Child Victims Act, is for damages resulting

from both intentional and negligent acts of employees of New York based Elite Model

Management1 including Founder John Casablancas of New York and employees Trudi Tapscott

of New York and Gérald Marie, aka Gerald Marie Castelbajac, of France, resulting in sexual abuse

of a child model.




   1
      Elite Model Management underwent Chapter 11 Bankruptcy and liquidation in 2004. Its
assets were purchased out of bankruptcy and it now operates under new ownership and
management.


                                            -1-
             Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 2 of 18




        2.         Over the span of many years, Elite employees John Casablancas and Trudi Tapscott

sent models from the US to live in Elite employee Marie’s Paris, France apartment where Marie

was known to sexually abuse vulnerable and often underage models.

        3.         Plaintiff is one such model who, at the age of 17, was sent by Ms. Tapscott from

Plaintiff’s residence in New York City to Defendant Marie’s apartment in Paris. At the time,

Plaintiff was told by Ms. Tapscott that Marie wanted her to move into his home. Plaintiff believed

that Marie was interested in helping her career. In reality, and as Plaintiff would soon learn, the

move from New York to Defendant Marie’s apartment in Paris was primarily so that Marie could

sexually abuse Plaintiff.

        4.         Shortly after arriving in Paris, Defendant Marie did just that and repeatedly raped

the 17-year-old Plaintiff in his apartment, oftentimes in Marie’s daughter’s vacant bedroom where

Plaintiff slept.

        5.         Powerful male executives in the industry such as John Casablancas and Gérald

Marie had the ability to make or break careers, especially for child models who were thousands of

miles from any family with no money, no understanding of the foreign language, and no

knowledge about when they would be given work. Defendants placed these child models in a

position in which they could not have been more vulnerable to sexual exploitation.

                                  II.    JURISDICTION AND VENUE

        6.         This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332 because

this action arises between three parties who are domiciled in New York, Colorado, and France and

thus have entirely diverse citizenship. The matter in controversy is substantially in excess of

seventy-five thousand dollars.

        7.         Venue is proper here as Defendant Trudi Tapscott resides in the Southern District

of New York and a substantial part of the acts or omissions occurred in this District.


                                                -2-
            Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 3 of 18




                                         III.    PARTIES

                                      A. Plaintiff Carré Sutton

       8.       Plaintiff Carré Sutton, now 52 years old, was a runaway at the age of 16 and lived

on her own in California’s Bay Area. While in California, Plaintiff was discovered by a modeling

agent with connections to Elite in New York City. After submitting photographs to Elite, the

company flew the then 17-year-old child to New York to embark on a modeling career. Plaintiff,

not yet old enough to hold most other jobs, jumped at the chance to earn money and was eager to

start her new life in New York.

       9.       Plaintiff arrived in New York in January 1986 after learning that Elite founder and

executive John Casablancas was interested in her. Elite immediately put her up in a models

apartment which was shared with five other young models. Plaintiff was given a small stipend

which barely covered food.

       10.      Her time in New York was not successful as Plaintiff did not receive any paid photo

shoots. Having no money and no housing other than what Elite was giving her, she had no option

but to do exactly as she was told.    Plaintiff was in New York for less than a few months before

she was told that she was being assigned to a new location. Elite arranged for her to get a passport.

       11.      In the spring of 1986, unsuccessful thus far in New York, Plaintiff was sent by Elite

to Paris with the stated hope that her look would have strong appeal in Europe. She was instructed

that the head of Elite’s Europe division, a man named Gerald Marie, was interested enough in her

career success that she could live in his personal residence. Plaintiff moved into Marie’s apartment

under the false pretense that he was interested in furthering her modeling career. In Marie’s

apartment, she was raped repeatedly by Marie and later trafficked by Marie to other wealthy men

around Europe. Plaintiff was never paid for her modeling work.




                                                -3-
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 4 of 18




        12.    Years later, after the abuse and under different management, Plaintiff became a

highly successful model, posing for the cover of many high-profile fashion magazines and

becoming the marketing face of several fashion designers. Plaintiff currently resides with her

husband and children in Boulder, Colorado.

                                   B. Defendant Gérald Marie

        13.    Defendant Marie, now 71 years of age, co-founded the French-based “Paris

Planning Modeling Agency (“Paris Planning”). Marie would serve as the president of Paris

Planning until the agency merged with Elite Model Management of New York City (“NYC”) in

1985.   Marie served as an executive for Elite and its various iterations from 1985 until 2010,

working in the New York office for nearly half of that span. Currently, Marie claims he is retired

in Ibiza, Spain though is still reported to work with Oui Model Management in Paris.

        14.    Marie has been accused of raping at least 15 models under his supervision, several

of whom were underage and as young as 15 years old. Marie is currently under criminal

investigation for these assaults in Paris, France. Models have also reported Marie to police and

media for sex trafficking child victims from New York, Canada, and other countries including

with respect to Plaintiff. While Marie primarily resides in Ibiza, Spain, he is believed to be a

citizen of France.

                                  C. Defendant Trudi Tapscott

        15.    Trudi Tapscott was a New York-based agent, scout and executive for Elite Model

Management in NYC. At all relevant times, Defendant Tapscott was a high level executive at

Elite Model Management who worked closely with Elite founder John Casablancas. In particular,

Tapscott was in charge of taking care of the young models, including Plaintiff. Ms. Tapscott

oversaw the new models housing in model apartments, transportation to jobs, and any other needs




                                             -4-
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 5 of 18




of the young women adjusting to their new life in New York City. She was in effect a housemother

for the child models, including Plaintiff. Ms. Tapscott is still a resident of the state of New York

and is the owner of The Model Coaches in New York City.

                                  D. Non-Party John Casablancas

       16.     John Casablancas, deceased, was born and raised in Manhattan. Casablancas and

businessman Alain Kittler founded Elite Model Management in Paris France in 1972 following a

short stint with Model Agency Elsyée. In 1977, Casablancas opened Elite’s New York office and

New York City became his primary residence. Casablancas, like Defendant Marie, is alleged to

have been sexually abusing child models. Casablancas and Defendant Marie were in charge of

Elite Model Management from 1985 to 2010, each as the head of the modeling world’s two

epicenters, New York and Paris. Their professional and at times personal affairs were constantly

intertwined.

                                      IV.    FACTS

             HISTORY OF NEW YORK CITY’S ELITE MODEL MANAGEMENT

       17.     John Casablancas’s claim to the modelling industry was his “love of beautiful

women”. He was a self-professed playboy. At age 27, he opened his first modeling agency in

Paris called “Agency Elysée 3” in 1969.

       18.     New to the modeling business, Casablancas had a difficult time getting his small

startup company to stand out amongst the long list of other agencies in Paris. In an attempt to gain

notoriety, Casablancas released photos of models at his agency with lewd sexual comments

underneath in the popular French magazine, Siné. Not received well by the French public, Elysée

3 quickly went out of business.




                                             -5-
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 6 of 18




       19.     Casablancas was not finished with the modeling business, however. His new

venture was to open an agency called “Elite” that represented only top models and coined a new

term, “supermodels.” Alongside his former boarding school classmate, Alain Kittler, Casablancas

opened Elite in 1972.

       20.     What John Casablancas brought to the modeling industry was sex. His agency

represented sensuality and sex appeal on a level the industry had never seen. Even the logo of

Elite was created with the intention of resembling a phallic symbol.

       21.     In particular, Casablancas had an affinity for young models—a “woman-child” as

he was prone to say. Casablancas infamously said that models who were virgins did not

photograph the same as sexually experienced models. To be a successful model and appeal to and

understand the image of sensuality, according to Casablancas, virgin models had to be “broken in”

by Elite executives and “devirginized.”

       22.     Casablancas’s most well-known sexual exploit with a child model involved what

he called an “affair” with model Stephanie Seymour. When Casablancas’s wife filed for divorce,

he announced that he was dating the then 16-year-old child model. In reality, he was committing

statutory rape that had actually started when Seymour was 14 years old. Casablancas would groom

Seymour by bringing milk and cookies to Seymour’s model apartment at night which was

conveniently located on the other side of the wall from his.

       23.     Despite the growing success of Elite, European agencies began to fall out of

demand due to payment issues that arose within the industry. Fewer and fewer models began

coming to Paris and instead went to New York where the largest agencies were located. In 1977,

Elite moved its headquarters to New York which would serve as the permanent home base of the

company.




                                             -6-
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 7 of 18




        24.    A couple of years prior to Casablancas moving Elite to New York, Defendant Marie

began his career in the modeling industry and after a failed attempt at his own business, joined

French based Paris Planning.

        25.     Marie quickly rose through the ranks of Paris Planning but became known for his

aggressive behavior and brutish personality. Marie became the sole director of Paris Planning in

1981.

        26.    While Elite New York had become one of the best modeling agencies in the world,

the original Elite office based in Paris was slowly dying due to competition in France as well as a

shift in the industry towards New York. Desperate for recuperation of their European affairs, Alain

Kittler met with Marie in 1985 in Ibiza to offer him a deal. Kittler offered Marie a position as head

of the Elite Europe office named “Elite Plus.”

        27.    Originally rivals in competition, Marie and Casablancas became associates and

partners as executives in Elite Model Management, a company that at its peak, had annual

modeling related revenues well in excess of 100 million dollars.

          MODELING INDUSTRY AND MARIE’S SEXUAL ABUSE IN THE 1980s

        28.    The history of the modeling industry in the 1980’s is much darker than imagined.

In the 1970s and 80s, the established industry of modeling as a delicate art form was infiltrated by

a group of men who realized they could use their unlimited access to young, vulnerable women to

commit heinous crimes and profit financially without fear of repercussion.

        29.    Child models were often placed in “model apartments” which housed several other

models in small quarters usually charging so much per model that the agency was collecting five

times the amount of actual rent. The result was that models were always broke and always

dependent on their agency. Most often, the models were left with nothing and had to fully rely on




                                             -7-
          Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 8 of 18




the agency for continued support. Away from their homes and parents, the child models relied

entirely upon their agency for food and continued shelter. Many couldn’t speak the local language

nor were they given any language education, which contributed to isolating the teenage models

even further in a foreign country. Models went to popular clubs such as Studio 54 in New York

and Les Bains in Paris. At these clubs, models would be used as a form of entertainment and

sometime were expected to have sex with guests.

       30.     When instructions came from agency executives for non-modeling related tasks,

whether sexual or otherwise, the child models were powerless to say anything in opposition out of

fear of ending their careers if not worse. Defendant Marie was accustomed to telling teen models

that if they didn’t have sex with him, they wouldn’t work. The young models were trapped in a

foreign county with no money and the only way to survive was to do what they were told by the

most powerful men in their world.

       31.     Casablancas and Marie in particular used their positions of power to traffic, exploit

and sexually abuse the young models they oversaw. While the public saw beautiful magazine

covers and celebrity supermodels, for most models the industry was defined by its financial

exploitation, narcotics, and rampant sexual abuse.

       32.     Within one year of founding Elite in Paris, at least two of Casablancas’ top models

were found dead. Paula Brenken allegedly threw herself out a window in a drunken state the night

after disclosing to her friends that she was raped by a photographer. Emmanuel Dano allegedly

died falling out of a moving car after she was out for a drive with several male friends who tried

to rape her.




                                             -8-
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 9 of 18




       33.     Several models also died under mysterious circumstances while Marie was at Paris

Planning. Models at Paris Planning and Elite that left the agencies were threatened by Marie to not

return to France nor disclose any information about him or his conduct.

       34.     Even prior to Marie joining Elite Model Management in 1985, it was understood

by many in the industry that Marie was a predator. Defendant Marie was known around the world

for his sexually aggressive behavior towards models. Photographer Jacques Silberstein was quoted

as saying that Marie’s policy for modeling was “if you want to work with me, you have to fuck

me.”

       35.     Several former models have stated publicly that in the early 1980s they had to leave

Paris Planning for another agency in France because they were no longer receiving work after

refusing to sleep with Marie.

       36.     Marie was also known for flying models into Paris on the pretext of signing a

contract with his agency, only to sexually assault them on their arrival. After assaulting them, he

would send them home without a contract.

       37.     When industry personnel learned that Marie had joined Elite in 1985, many in Elite

were reportedly shocked and outraged. Casablancas initially had concerns about Marie’s

incorporation into Elite in 1985.

       38.     A former business partner of Casablancas recalled that Marie met with Elite New

York executive Monique Pillard in her New York office around the time of the 1985 merger and

well prior to Plaintiff working for Elite. Casablancas was furious. He reportedly said “if models

see Gérald in Monique’s office, they could think we have something to do with him. He’s a sleaze.

He beats up girls. He rapes them.”




                                            -9-
            Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 10 of 18




           39.   Because of the sensitivity around Marie joining Elite due to prior allegations against

him of rape, Marie was given a separate division called Elite Plus with his own separate space to

work. Casablancas reluctantly agreed to sign Marie into Elite Model Management despite his

sexual misconduct because of Marie’s ability to bring in young models.

           40.   On information and belief, Casablancas knew, and other Elite New York executives

including Trudi Tapscott knew or should have known, that Marie was sexually abusing underage

models. Yet they continued to traffic young girls to him through New York to his private home in

Paris.

           41.   At the time, multiple Elite executives were aware that many models were being

sexually abused by Gérald Marie. Marie Anderson, the head of Elite Chicago, stated that everyone

knew that Gerald was a sexual predator, but no one ever talked about it. That was the culture in

the industry.

           42.   In June of 1986, Defendant Tapscott shared a memo with John Casablancas

regarding models being sexually abused by Marie including Plaintiff. Casablancas forwarded the

memo to his partner Kittler as well as Defendant Marie.

           43.   Rather than addressing or being concerned about the actual conduct that was

occurring, Casablancas indicated to Marie that he needed to be more cautious, presumably so the

public would not know.

           44.   In a 1999 BBC documentary, Marie admits on video footage that he used the Elite

Look of the Year competition to scout young girls to have sex with, so they could be discreet and

away from paparazzi. The average age of the contestants at the Look of the Year Competition was

fifteen.




                                               - 10 -
            Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 11 of 18




       45.       Casablancas and Marie even used to compete over having sex with young models.

Omar Harfouch, a Lebanese businessman who was involved in judging the Elite Look of the Year

competition, recently explained to the police in an ongoing criminal investigation into Marie the

system that Elite executives had. Marie and several bookers from the agency had a board where

they would write down who had sex with the most girls or women. The criteria for this competition

was their ages. The younger they were, the more points they would receive, and the more virgins,

the more points they would get. At the end of each fashion week, they would compare their

exploits.

       46.       Model Shawna Lee corroborated this account with her own report of being raped

by Marie in 1991 when she was fifteen years old, saying that a Paris Elite scout and friend of Marie

told her that Casablancas and Marie had been competing over who was going to get her virginity.

She says the scout was “kind of mad that he [Marie] got it first”.

       47.       Thus, the very adults responsible for taking care of these child models were

competing amongst themselves to see who could rape the most of them. This predatory competitive

environment among Elite officials in sexually abusing children only encouraged and expanded

predatory behavior within the industry.

                   TRAFFICKING AND ABUSE OF CARRÉ (OTIS) SUTTON

       48.       Plaintiff was a 16-year old child runaway in Northern California in 1985. Not old

enough to get a job, and homeless at the time, Plaintiff was desperate for money. It was then that

she was spotted by a modeling scout in the Bay Area. The scout offered her twenty dollars to

appear in a modeling show wearing lingerie.

       49.       At the age of 16 she was referred to a modeling agency in San Francisco that had

ties to Elite.    The agency sent photographs of Plaintiff to John Casablancas. Casablancas




                                             - 11 -
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 12 of 18




immediately asked for her to be sent to New York. Underage and with no parental consent,

Casablancas paid for Plaintiff to move to New York with a number of other young models in

Elite’s model apartment in Manhattan.

        50.     Despite Casablancas’s interest in moving her to New York, Plaintiff did not have a

successful start.

        51.     One of the Elite executives primarily responsible for the 16-year-old Plaintiff’s

wellbeing was Tapscott. Tapscott started at Elite New York in 1984 as an executive model scout

under Casablancas. She was head of the New Faces division in charge of overseeing all new

models in New York.

        52.     Unlike the other executives, Tapscott oversaw the model apartments. It was well-

known between these models that Tapscott played favorites—all of Tapscott’s favorites were

likely to get more modelling opportunities and models knew not to rub Tapscott the wrong way.

        53.     After a few months, Casablancas called Plaintiff back into his New York office and

told her that “her look was not making the cut.” Casablancas said he would give her one more

week “on his dime” to get good photographs but that if she did not, she would have to move on.

Casablancas left the office and Plaintiff began to cry when Tapscott came in. Tapscott comforted

Plaintiff, telling her that it was okay if she did not make it because she would be sent from New

York to another one of Elite Europe’s agencies like Milan or Paris.

        54.     Before the week was out, Tapscott informed Plaintiff that Elite was transferring her

from New York to Paris and she was chosen by the head of Elite in Europe to live in his apartment

with him. Plaintiff had seen many models go to Paris to work but they all resided at the model

apartment in Paris. Plaintiff felt that this was a very good sign and that perhaps her career was not

over.




                                             - 12 -
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 13 of 18




       55.     On information and belief, the decision to send Plaintiff to Paris was Defendant

Tapscott’s and Defendant Marie’s with the consent of Casablancas as he was typically responsible

for approving any model leaving New York.

       56.     Elite sent Plaintiff to Paris on a short-term visa, likely a tourist visa. When she left,

Plaintiff fully intended to return to live in New York and continue her career as a model.

       57.     While Tapscott indicated to Plaintiff she was being sent to Paris for the purpose of

furthering her career, in fact it was for something altogether different.

       58.     Right after Plaintiff landed, she was picked up by Elite employee Jacques de

Nointel. He told her that "the boss needs to see you immediately" and took Plaintiff to meet Marie

and then later to Marie’s apartment where he and his girlfriend model Linda Evangelista lived.

Evangelista was by now a highly successful model and she started traveling more for shoots,

leaving Plaintiff and Defendant alone in the apartment.

       59.     When Plaintiff first went to Marie's office, he told her that she will do well at Elite

but he warned that she has to be obedient to his commands to be a model for him. Marie slapped

the 17 year old on her buttocks and says "On my dime, I don't want your opinion Carré. I want

your obedience."

       60.     At the apartment, Marie began supplying Plaintiff with vials of cocaine on the

premise that it would allow her to lose weight to become a more successful model, promising her

that he will make her a superstar.

       61.     One night, after doing shoots all day, Plaintiff came home soaking wet after having

to walk home through the rain. She began to feel ill and decided that she needed to go to sleep.

She took a shower and went to bed in the Marie’s daughter’s bedroom. In the early hours of the

morning, she heard Marie enter her home and come into the bedroom. Defendant Marie, apparently




                                              - 13 -
          Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 14 of 18




drunk, ripped the covers off her and raped her. Plaintiff became distant from Marie but remained

obedient to him as she needed Marie to survive in Paris. Every time Evangelista left the apartment,

Defendant Marie expected Plaintiff to let him rape her which he did repeatedly over the span of

months.

       62.     During this time, Marie would traffic Plaintiff to wealthy men in Europe for

purposes wholly unrelated to modeling. On one such occasion, Marie sent Plaintiff to a Milan

modeling agency that used its models for playboy parties. Plaintiff was sent to the home of an

Italian billionaire with the understanding that she was to do a photo shoot. When she arrived, there

was no shoot, only a lavish party where the billionaire attempted to rape Plaintiff. The man would

pay Elite to send young models like Plaintiff to him to be preyed upon by his guests.

       63.     After Plaintiff had turned 18, Marie tried coming into Plaintiff’s room to rape her

and Plaintiff said no repeatedly. Marie got angry and said that no one says no to him. He asked her

if she knew the implications of saying no to him and she said yes. She was kicked out of his

apartment shortly thereafter and was transferred to Milan.

       64.     A few years later at the home of Gérald Marie in Ibiza, Spain, Tapscott was heard

telling Marie and Casablancas to leave the 13 and 14 year olds alone. Marie responded “We are

men. We have needs,” while Casablancas chimed in “C’mon, Trudi, relax.” Tapscott was not

confronting these men about raping and abusing all of the child models, just asking them to leave

the youngest ones alone.

       65.     Unlike other executives such as Marie Anderson who chose to leave the company

because of the behavior of these officials, Tapscott did not. Instead, Tapscott, responding to

allegations of sexual abuse within Elite stated: “My answer was always that no one ever did

anything that they didn’t want to.”




                                             - 14 -
          Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 15 of 18




         66.    As an executive at Elite New York, Tapscott had the ability to prevent the sex

trafficking and abuse that was occurring through Elite’s New York office, but didn’t.

                                          V.      CLAIMS

                                 FIRST CLAIM FOR RELIEF
                                         FRAUD
                           TRUDI TAPSCOTT AND GÉRALD MARIE

         67.    Plaintiff realleges and restates all preceding paragraphs as if fully stated herein.

         68.    In 1986, Defendant Marie induced Plaintiff to move from New York to Paris France

under the guise that he would do so to help her modeling career; Marie failed to tell the underage

Plaintiff that his true intent was to repeatedly sexually abuse her in his apartment.

         69.    Defendant Tapscott told Plaintiff that Defendant Marie chose her to live in his

apartment and Plaintiff understood from Tapscott that was a very good sign for her career.

Tapscott did not tell Plaintiff that Marie was a known child predator who assaulted young models.

         70.    At the time that Marie and Tapscott coordinated for Plaintiff to reside in Defendant

Marie’s apartment, Marie was aware that his true intent was to sexually assault Plaintiff. At the

time Ms. Tapscott failed to disclose to Plaintiff that Elite was sending her to live in the home of

sex offender, Ms. Tapscott knew or should have known that Marie was likely to sexually offend

on Plaintiff.

         71.    The intent of Defendants to misrepresent and fail to disclose the material fact that

Defendant Marie was a child predator was designed to induce Plaintiff to move in with Defendant

Marie.

         72.    Plaintiff justifiably relied on Defendants’ misrepresentations and moved in with a

child sex offender.




                                               - 15 -
        Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 16 of 18




       73.     Defendants’ conduct resulted in Plaintiff being repeatedly subjected to sexual

intercourse without her consent by Marie as defined in New York Penal Law Article 130.20,

Sexual Misconduct, 130.25 Rape in the Third Degree, 130.35 Rape in the First Degree, 130.65

Sexual Abuse in the First Degree.

       74.     Plaintiff has suffered damages resulting from Defendants’ conduct.

                                SECOND CLAIM FOR RELIEF
                                     NEGLIGENCE
                               DEFENDANT TRUDI TAPSCOTT

       75.     Plaintiff realleges and restates all preceding paragraphs as if fully stated herein.

       76.     Defendant Tapscott owed Plaintiff a duty of care as the employer, caretaker, and

housing provider for underage models such as Plaintiff.

       77.     Defendant breached that duty of care by sending Plaintiff to reside with a man she

knew or should have known was a sex offender in Defendant Marie.

       78.     Defendant Tapscott’s actions resulted in Plaintiff being subjected to sexual

intercourse without her consent as defined in New York Penal Law Article 130.20, Sexual

Misconduct, 130.25 Rape in the Third Degree, 130.35 Rape in the First Degree, 130.65 Sexual

Abuse in the First Degree.

       79.     Plaintiff suffered damages resulting from the foreseeable and predictable sexual

abuse that resulted from sending Plaintiff to reside with Defendant Marie.

                            THIRD CLAIM FOR RELIEF
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                       GÉRALD MARIE AND TRUDI TAPSCOTT

       80.     Plaintiff realleges and restates all preceding paragraphs as if fully stated herein.

       81.     Defendants’ conduct of arranging and directing Plaintiff to fly from New York to

another country for the purpose of child sexual assault was extreme and outrageous conduct.




                                              - 16 -
         Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 17 of 18




       82.     Defendant Marie had the specific intent to harm Plaintiff while Defendant Tapscott

had a complete disregard for the substantial probability the Marie would sexually assault Plaintiff.

       83.     The outrageous conduct caused and resulted in Plaintiff being subjected to sexual

intercourse without her consent as defined in New York Penal Law Article 130.20, Sexual

Misconduct, 130.25 Rape in the Third Degree, 130.35 Rape in the First Degree, 130.65 Sexual

Abuse in the First Degree.

       84.     Plaintiff has suffered severe emotional distress as a result of the conduct.

                            FOURTH CLAIM FOR RELIEF
                    CONSPIRACY TO COMMIT SEXUAL MISCONDUCT
                                 GÉRALD MARIE

       85.     Plaintiff realleges and restates all preceding paragraphs as if fully stated herein.

       86.     In early 1985, on information and belief, Defendant Gerald Marie reached an

agreement with John Casablancas to send 17-year-old Plaintiff to live with Defendant Marie who

was known to Casablancas to be sex offender.

       87.     In furtherance of the agreement, John Casablancas in fact sent Plaintiff to Marie’s

apartment in France.

       88.     On information and belief, the two men deliberately reached this agreement to

further their professional interests as well as their shared interest in sexually abusing child models.

       89.     As a result of this conspiracy, Plaintiff was subjected to sexual intercourse without

consent as defined in New York Penal Law Article 130.20, Sexual Misconduct, 130.25 Rape in

the Third Degree, 130.35 Rape in the First Degree, 130.65 Sexual Abuse in the First Degree.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that this Court:

       A.      Enter judgment against Defendants on all claims for relief.

       B.      Award Plaintiff compensatory and punitive damages to be determined at trial.


                                              - 17 -
       Case 1:21-cv-06787-MKV Document 1 Filed 08/12/21 Page 18 of 18




      C.    Statutory and mandatory interest.

      D.    Award Plaintiffs’ counsel all attorneys’ fees and costs permissible by law.

      E.    Grant such other and further relief as this Court deems appropriate.

DATED: August 12, 2021


                                          By /s/ Debra L. Greenberger
                                             Debra L. Greenberger
                                             EMERY CELLI BRINCKERHOFF ABADY
                                             WARD & MAAZEL LLP
                                             600 Fifth Avenue at Rockefeller Center
                                             10th Floor
                                             New York, New York 10020
                                             Telephone: (212) 763-5000
                                             dgreenberger@ecbawm.com



                                          By /s/ John Clune
                                             John Clune, Pro Hac Vice Application
                                             Forthcoming
                                             Daniel D. Williams Pro Hac Vice Application
                                             Forthcoming
                                             HUTCHINSON, BLACK, AND COOK, LLC
                                             921 Walnut Street, Ste 200
                                             Boulder, Colorado 80302
                                             Telephone: (303) 442-6514
                                             clune@hbcbhoulder.com
                                             williams@hbcboulder.com

                                          Attorneys for Plaintiff




                                         - 18 -
